
OPINION.
Tkammell :
This proceeding presents the question as to whether the petitioner sustained such a met loss in 1921 as entitled him to the deduction in his income-tax return for 1922 in accordance with section 204 of the Revenue Act of 1921.
*908The real controversy here is whether the loss sustained by the petitioner in 1921 was a loss resulting from the operation of any trade or business regularly carried on by the petitioner. If it was, it is allowable as a net loss. The loss sustained here was the investment by the petitioner in the stock of the corporation. This stock became worthless during 1921. The loss from the investment was not a loss from the operation of a business regularly carried on. We think the case is controlled by previous decisions of the Board. Isadore Fmkelstein, 10 B. T. A. 585, and cases there cited, wherein we have held that such a loss does not come within the net loss provisions of the statute.

Judgment tirill be entered on 10 days’ notice, under Rule 50.

